
Whitaker, Judge,
dissenting in part in which Jones, Chief Judge, joins:
We dissent for the reasons stated in our dissenting opinions in McGuire v. United States, 145 C. Cls. 17.
In accordance with the opinion of the court and on a memorandum report of the commissioner as to the amount due thereunder, it was ordered on June 3, 1960, that judgment for the plaintiff be entered for $7,052.56, of which sum $424.35 shall be credited to plaintiff in the Civil Service Betirement and Disability Fund and $34.25 shall be credited to plaintiff in the Employees’ Life Insurance Fund with the balance in the sum of $6,593.96 to be paid to plaintiff.
